Case 1:15-cv-00552-CWD Document 18-1 Filed 03/30/17 Page 1 of 7

EXHIBIT - |

Taylor v. Blades

Case No. 1:15-cv-00552-EJL

 
 

 

' CHRISTOPHER MARK TAYLOR,

Case 1:15-cv-00552-CWD Document 18-1 Filed 03/30/17 Page 2 of 7

 

 

In the Court of Appeals of the State of Idaho

 

STATE OF IDAHO,
REMITTITUR
Plaintiff-Respondent,
Docket No. 39844

Vv: Jerome County # 2011-697

Defendant-Appellant.
TO: FIFTH JUDICIAL DISTRICT, COUNTY OF JEROME.

The Court having announced its Unpublished Opinion in this cause August 1,
2013, and having denied Appellant’s Petition for Review on September/ 5013; therefore,
IT IS HEREBY ORDERED that the District Court shall forthwith comply with

   

the directive of the Unpublished Opinion, if any action is required.
| DATED this LEE : :

day of September,

Va STATE OF IDAHO

cc: Counsel of Record
District Court Clerk
District Judge

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Case 1:15-cv-00552-CWD Document 18-1 Filed 03/30/17 Page 3 of 7

Tn the Supreme Court of the State of Idaho

 

  

STATE OF IDAHO, )
Plaintiff-Respondent, ) ORDER DENYING PETITION
) FOR REVIEW
Vv. ) ,
) Supreme Court Docket No. 39844-
CHRISTOPHER MARK TAYLOR, . ) 2012; Jerome County Docket No.
) - 2011-697
Defendant-Appellant. i)
supporting BRIEF on September 6, 2013, seeking review of the Unpublished Opinion of. the
Court of Appeals filed August 1, 2013; therefore, after due consideration,
IT IS HEREBY ORDERED that Appellant’s PETITION FOR REVIEW be, and hereby
is, DENIED.
DATED this / 9 — day of September 2013.
ce: Counsel of Record

Ref. No. 13-211
The Appellant having filed a PETITION FOR REVIEW on August 22, 2013 and a
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Case 1:15-cv-00552-CWD Document 18-1 Filed 03/30/17 Page 4 of 7

EXHIBIT - 2

Taylor ve Blades
Case No. 1:15-cv-00552-EBJL

 
 

 

 

 

 

 

In the Court of Appeals of the State of Idaho

 

CHRISTOPHER MARK TAYLOR, )
a ) SECOND
Petitioner-Appellant, ) REMITTITUR

)

Vv. ) Supreme Court Docket No. 43000
) Jerome County D.C, # 2014-857

STATE OF IDAHO, )
)
)

Respondent. .
TO: FIFTH JUDICIAL DISTRICT, COUNTY OF JEROME,

The Court having announced its Unpublished Opinion in this cause May [7,
2016; and having filed a Remittitur on June 14, 2016; and the Appellant's Petition for Review

was filed on July 22, 2016; and the Court having denied d Appellant’ s Petition for Review on
August 1. |b. 2016; therefore, |

IT IS HEREBY ORDERED that the District Court shall forthwith comply with |
the directive of the Unpublished Opinion, if any action is required. |

 

 

 

DATED this IG | day of August, 2016, |

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Stephon gr

Clerk of the Court ofAppeals Ht

STATE OF IDAHO |

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ce: Counsel of Record
District Court Clerk oo |
District Judge  }

 

 

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In the Supreme Court of the State of Idaho

 

 

   

 

 

i ‘CHRISTOPHER MARK TAYLOR, ) - i

| a) ORDER DENYING PETITION

| Petitioner-Appellant, ) FOR REVIEW

)

| v. ) - Supreme Court Docket No. 43000 -
i Jerome County D.C, #2014-857

STATE OF IDAHO, ) .

| Respondent. ) Ref. No. 16-167 |

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| | The Appellant having filed a PETITION FOR REVIEW on July 22, 2016, and a |

| supporting BRIEF on August 10, 2016, seeking review of the Unpublished Opinion of the Court

| of Appeals filed May 17, 2016; therefore, after due consideration,

IT 1S HEREBY ORDERED that Appellant's PETITION FOR REVIEW be, and hereby

is. DENIED. |

DATED this__\lo_ day of August, 2016. a i

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By Order of the Supreme Court i

| Sten Koy

| Stephen W. Kenyon, Cletk |

ce: Counsel of Record — a |

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Case 1:15-cv-00552-CWD - Document 18-1 Filed 03/30/17 Page 7 of 7

 

 

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In the com of Appeals of the State of Idaho

CHRISTOPHER MARK T TAYLOR, yo. -
Petitioner-Appellant, a "-REMITTITUR
v. a Docket No. 43000
Bs a Jerome Co. D.C. No. 2014-857
STATE OF IDAHO, Oy “
, aye
Respondent, . oF

 

To: F TH JUDICIAL DISTRICT, County 6 OF JEROME, -
The Court ng annoisnced its is Unpublished Opinion in this cause e May 17, 2016,
which has now become final; there e Hee Saha st he

    

 

 

IT IS HEREBY. ORDERED that the District ¢ Court shall forthwith comply with,
the directive of the Unpublished Opinion, if any action i is required,

DATED this _' - dey 9 of June, 2016. Chk

  
  
  

 

“cer Counsel of Record. 7a :
District Court Clerk ara
- District Judge ee

 
